Filed 8/23/24 P. v. Galvan-Martinez CA1/2
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          IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                      FIRST APPELLATE DISTRICT

                                                   DIVISION TWO


 THE PEOPLE,
      Plaintiff and
 Respondent,                                                  A169851

 v.                                                           (San Mateo County
 PEDRO GALVAN-                                                Super. Ct. No. 19NF009837A)
 MARTINEZ,
      Defendant and
 Appellant.


         Pedro Galvan-Martinez1 was convicted of rape, forcible oral copulation,
false imprisonment and making criminal threats. On appeal, his convictions
were affirmed, but the sentence was vacated because upper terms imposed by
the trial court could not be sustained under post-sentencing statutory
amendments. This appeal is from the orders on resentencing. Galvan’s
appointed appellate counsel has filed a brief pursuant to People v. Wende
(1979) 25 Cal.3d 436 (Wende), in which he raises no issue and asks this court
for an independent review of the record. Counsel attests that he advised
Galvan of his right to file a supplemental brief, but Galvan has not filed one.



         Pursuant to his expressed preference, appellant was referred to at
         1

trial as “Galvan.” We will do the same in this opinion.

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      Having examined the entire record in accordance with Wende, we agree
with counsel that there are no arguable issues requiring further briefing and
affirm.
                                BACKGROUND
      The facts underlying Galvan’s convictions were related in our
unpublished opinion on the appeal. (People v. Galvan-Martinez (Apr. 26,
2023, A161995).) His convictions arise from an incident that Galvan claimed
was a consensual sexual encounter.
      After a jury trial, Galvan was convicted of forcible rape (Pen. Code,
§ 261, subd. (a)(2))2 (count 1); forcible oral copulation (§ 287, subd. (c)(2)(A))
(count 2); false imprisonment by violence (§ 236) (count 3) and making
criminal threats (§ 422, subd. (a)) (count 4). The jury found true allegations
that Galvan used a deadly weapon in the commission of the offenses charged
in counts 1 and 4. (§ 12022.3, subd. (a).)
      At sentencing, the trial court struck the deadly weapon enhancement
for count 4 and imposed an aggregate sentence of 18 years, consisting of the
upper term of eight years on count 1, the upper term of ten years on the
enhancement for that count, and concurrent middle terms of six years on
count 2 and two years on count 4. The court stayed sentence on count 3
pursuant to section 654.
      Galvan appealed and we affirmed the convictions but concluded
resentencing was required due to the post-sentencing enactment of Senate
Bill No. 567 (2021-2022 Reg. Sess.), which amended section 1170,
subdivision (b), so as to preclude imposition of an upper term sentence unless
facts underlying the aggravating circumstances were stipulated to by the
defendant or found true beyond a reasonable doubt. We remanded with


      2   All further statutory references will be to the Penal Code.

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directions for the People to elect whether to proceed under the amended
statute by proving the existence of aggravating factors beyond a reasonable
doubt or accept sentencing on the record as it stood. The People elected to
proceed on the existing record.
      The trial court, pursuant to section 1170.1, subdivision (a), designated
count 4 as the principal term and imposed the middle term of two years,
consecutive to any other sentence, and stayed a two-year middle term
sentence on count 3 pursuant to section 654. The court exercised its
discretion to sentence counts 1 and 2 under section 667.6, subdivision (c),
imposing fully consecutive middle terms of six years on count 1, four years on
the section 12022.3 enhancement to count 1 and six years on count 2. The
aggregate term under section 667.6 was 16 years and the aggregate term on
all counts 18 years.
      Galvan filed a timely notice of appeal.
                                  DISCUSSION
      Pursuant to Wende, we are required “to conduct a review of the entire
record whenever appointed counsel submits a brief which raises no specific
issues or describes the appeal as frivolous.” (Wende, supra, 25 Cal.3d at
p. 441; Anders v. California (1967) 386 U.S. 738.)
      The full resentencing rule applicable here allowed the trial court to
exercise its sentencing discretion on all counts, including “revisiting such
decisions as the selection of a principal term, whether to stay a sentence,
whether to impose an upper, middle, or lower term, and whether to impose
concurrent or consecutive sentences.” (People v. Jones (2022) 79 Cal.App.5th
37, 45-46; People v. Buycks (2018) 5 Cal.5th 857, 893.) When sentencing on
both sex offenses and non-sex offenses, “a trial court may properly designate
the longest non[-]sex offense as the principal term and may treat all of the



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sex offenses under section 667.6, subdivision (c).” (People v. Belmontes (1983)
34 Cal.3d 335, 346.) The trial court imposed sentence in accordance with
sections 1170, subdivision (b), 1170.1, subdivision (d), and 667.6,
subdivision (c), and the California Rules of Court, and explained the reasons
for each of its discretionary choices.
      Our review of the record reveals no arguable issues requiring further
briefing.
                                 DISPOSITION
      The judgment is affirmed.




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                                          STEWART, P.J.



We concur.




RICHMAN, J.




DESAUTELS, J.




People v. Galvan-Martinez (A169851)




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